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 7                                       UNITED STATES OF AMERICA
 8                                NORTHERN DISTRICT OF CALIFORNIA
 9                                           SAN JOSE DIVISION                      *E-FILED - 8/23/06*

10 UNITED STATES OF AMERICA,                          )   Case No. CR 05-00445 RMW
                                                      )
11                          Plaintiff,                )   [] AMENDED FINAL ORDER
                                                      )   OF FORFEITURE
12                  v.                                )
                                                      )
13 NATHANIEL E. LOVELL,                               )
     aka Nate Lovell, aka pestilenc, aka pest,        )
14                                                    )
                       Defendant.                     )
15                                                    )
16          On March 17 and July 6, 2006, the Court entered Preliminary and Final Orders of Forfeiture,
17 respectively, forfeiting the defendant’s right, title and interest in certain items defendant used in
18 violation of federal law for which he was convicted, i.e., Conspiracy to Commit Criminal Copyright
19 Infringement By Electronic Means, in violation of Title18, United States Code, Section 371 and
20 Copyright Infringement By Electronic Means and Aiding and Abetting, in violation of Title 17,
21 United States Code, Section 506(a)(1)(B), Title 18, United States Code, Sections 2, 2319(c)(1). It
22 was later determined that the serial numbers associated with some of the items were inadvertantly
23 listed incorrectly.   This Order corrects those clerical errors.
24          THEREFORE, IT IS HEREBY ORDERED that the items listed below are hereby forfeited to
25 the United States, pursuant to Title 17, United States Code, Sections 506(b) and 509(a). All right,
26 title and interest in said property is vested in the United States of America. The appropriate federal
27 agency shall dispose of the forfeited property according to law.
28
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 1              A.       Seagate Hard Drive Serial Number 3JT1MG7G
 2              B.       Maxtor Hard Drive Serial Number T4H6LM7C
 3              C.      Western Digital Serial Number 07939902
 4              D.      IBM Serial Number XEYBZ801
 5              E.      Seagate Hard Drive Serial Number 3DF05GMT
 6              F.      IBM Hard Drive Serial Number VED33350
 7              G.       IBM Hard Drive Serial Number 6EMAV838
 8              H.       Maxtor Hard Drive Serial Number 66220251064
 9              I.      Western Digital Hard Drive Serial Number WT4111778923
10              J.      Maxtor Hard Drive Serial Number B603LLRH
11              K.      Maxtor Hard Drive Serial Number B61N8V6H
12              L.      Maxtor Hard Drive Serial Number L60308CH
13              M.      Maxtor Hard Drive Serial Number B603J06H
14              N.       Maxtor Hard Drive Serial Number B6036SDH
15              O.      Maxtor Hard Drive Serial Number G806A59E
16              P.       Maxtor Hard Drive Serial Number B603GY2H
17              Q.      Maxtor Hard Drive Serial Number B603G7GH
18              R.      Maxtor Hard Drive Serial Number B603L0JH
19              S.      Maxtor Hard Drive Serial Number B603KZ5H
20              T.      Western Digital Hard Drive Serial Number
                        WDWMAL72761336
21
22              U.      Western Digital Hard Drive Serial Number
                        WDWMAS72789796
23
24              V.      Maxtor Hard Drive Serial Number B603HDZH
25              W.      Maxtor Hard Drive Serial Number B60329GH
26              X.      Maxtor Hard Drive Serial Number B603KXPH
27              Y.      Seagate Hard Drive Serial Number 3HV1262A
28              Z.      Maxtor Hard Drive Serial Number Y697ZNSE


     FINAL ORDER OF FORFEITURE                                                   2
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 1               AA.         Maxtor Hard Drive Serial Number B6036TNH
 2               BB.         Maxtor Hard Drive Serial Number B6036KAH
 3               CC.         Maxtor Hard Drive Serial Number B603L1HH
 4               DD.         Maxtor Hard Drive Serial Number B603G5HH
 5               EE.         Maxtor Hard Drive Serial Number B603G4WH
 6               FF.         Seagate Hard Drive Serial Number VR242388
 7               GG.         IBM Hard Drive Serial Number G2R8YJ6G
 8               HH.         Maxtor Hard Drive Serial Number K60N28FC
 9               II.         Seagate Hard Drive Serial Number 1HR00158
10               JJ.         Maxtor Hard Drive Serial Number Y6508J6E
11               KK.         Western Digital Hard Drive Serial Number
                             WM3690594687
12
13               LL.         IBM Hard Drive Serial Number 68013450HA
14               MM.         Seagate Hard Drive Serial Number LG430880
15               NN.         Seagate Hard Drive Serial Number 3DF05GKX
16               OO.         Six unlabeled hard drives located in shipping box
17               PP.         Maxtor Hard Drive Serial Number D408SV8E
18               QQ.         83 CD-roms, various labels
19               RR.         3 Thumb drives
20               SS.         Computer CPU tower - CPU 16
21               TT.         1 CD-R labeled R. Kelley - Chocolate Factory
22               UU.         1 DVD-R labeled as The Last of the Mohicans
23               VV.         iPod 20GB with i trip connector Serial Number
                             4J4455NTP59
24
25               WW.         Computer CPU tower, no serial Serial Number - CPU
                             17
26
27               XX.         Black Caselogic CD holder with CDs
28               YY.         Western Digital Hard Drive Serial Number
                             WCA9N5255055

     [] FINAL ORDER OF FORFEITURE                                                    3
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 1               ZZ.         1 black Mainstays CD holder with CDs
 2               AAA.        19 CD-R/DVD-R in plastic single cases
 3               BBB.        167 CD-R/DVD-R on cylinder holders
 4               CCC.        CD rom X
 5               DDD.        Sony DVD/CD player Serial Number 8864036
 6               EEE.        Sony DVD/CD player Serial Number 8844214
 7               FFF.        Microsoft XBox Serial Number 307940545005
 8               GGG.        XBox connector cord
 9               HHH.        XBox power cord
10               III.        Black and silver CD projects case with CDs inside
11               JJJ.        5 CD Projects blue/black CD case
12               KKK.        5 Black Case Logic CD case
13               LLL.        2 Case It gray/black CD case
14               MMM.               1 CD Projects grey/black CD case
15               NNN.               1 Black CD case, no label, medium size
16               OOO.               1 MSDN Blue/black CD case
17               PPP.               1 Office 2000 black/green CD case
18               QQQ.               1 black 3 ring binder with CDs
19               RRR.               520 CD/DVD roms, various labels
20               SSS.               300 CD/DVD roms, boxed, various labels
21               TTT.               500 CD/DVD roms, boxed, various labels
22               UUU.               184 CD/DVD roms, boxed, various labels
23               VVV.               1 CPU labeled Cadco clone no serial Serial Number
                                    (one loose HD Maxtor) (CPU-1)
24
25               WWW.               1 CPU (located in box) (CPU-2)
26               XXX.               1 CPU (CPU-3)
27               YYY.               1 CPU clone, (CPU-4)
28               ZZZ.


     [] FINAL ORDER OF FORFEITURE                                                        4
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 1               AAAA.             1Compaq laptop CMZ040 Serial Number
                                   1V97CYW27325, with power cord (CPU-5)
 2
 3               BBBB.             1 CPU Xcon, labeled server 19216811 (CPU-6)
 4               CCCC.             1 CPU Black Coolermaster Serial Number
                                   C05090101083 (CPU-7)
 5
 6               DDDD.             1 CPU (CPU-8)
 7               EEEE.       1 CPU (CPU-9)
 8               FFFF.             1 CPU (CPU-10)
 9               GGGG.                1 CPU (CPU-11)
10               HHHH.             1 Dell laptop model PP0IL Serial Number
                                   8LJ4H01 (CPU - 12)
11
12               IIII.       1 Maxtor Hard Drive Serial Number 6943PLH (CPU-
                             13) with cord
13
                 LLLL.             1 CPU label SERVCR2 19216812 Serial
14                                 Number B13002A2510175 (CPU-14)
15
                 MMMM.             1 CPU label SERVCR3 19216813 (CPU-15)
16
                 NNNN.             Hitachi Hard Drive Serial Number CFE329KD
17
                 OOOO.             Shuttle X Computer Serial Number BS1A30308000538
18
19           The United States represents that it has complied with the publication and notice
20 requirements of the Preliminary Order and that no petitions have been filed.
21       IT IS SO ORDERED this             23          day of   August             . 2006.
22
23                                                   /s/ Ronald M. Whyte
                                                    RONALD M. WHYTE
24                                                  United States District Judge
25
26
27
28


     [ FINAL ORDER OF FORFEITURE                                                             5
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